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                  IN THE UNITED STATES DISTRICT COURT
               FOR THE EASTERN DISTRICT OF PENNSYLVANIA

Murray et al.                       :       CIVIL ACTION
                                    :       NO. 20-04018
                                    :
     v.                             :
                                    :
                                    :
The City of Philadelphia            :
     et al.                         :

                                    ORDER

            AND NOW, this 18th day of August, 2020, after

considering Plaintiffs’ Motion for Temporary Restraining Order

and Preliminary Injunction (ECF No. 5), it is hereby ORDERED

that Defendants shall submit a memorandum of law in support of

their position by 9:00 a.m. on August 20, 2020.




            AND IT IS SO ORDERED.



                              /s/ Eduardo C. Robreno
                              EDUARDO C. ROBRENO, J.
